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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF GEORGIA
                                    AUGUSTA DIVISION

 IN RE:                                            )      CASE NO. 14-12297 SDB
                                                   )
 SCIENCE FITNESS, LLC                              )
     DEBTOR                                        )      CHAPTER 7

    MOTION TO SELL PROPERTY OF THE ESTATE FREE AND CLEAR OF LIENS
                         AND ENCUMBRANCES

          Joy R. Webster, Trustee in the above referenced case, files this Motion to Sell Property

 Free and Clear of Liens and Encumbrances (“Motion”) pursuant to 11 U.S.C. § 363(b) and

 §363(f) and shows the Court the following:

                                                  1.

          The Debtor filed a chapter 11 bankruptcy in this Court on December 8, 2014 (“Petition

 Date”). The case was converted to a chapter 7 bankruptcy on May 2, 2016. Joy R. Webster,

 Trustee (“Trustee”) is the duly appointed trustee in this case pursuant to 11 U.S.C. § 702(d).

                                                  2.

          The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This is a core

 proceeding pursuant to 28 U.S.C. § 157(b)(2)(N).

                                                  3.

          Venue is proper pursuant to 28 U.S.C. § 1409.

                                                  4.

          On May 20, 2016, the Court entered an order allowing the Trustee to operate the Debtor’s

 business for a limited period of 120 days to maximize the value of the estate.

                                                  5.

          The Debtor listed personal property in schedule B including exercise equipment,

 furniture, fixtures and leasehold improvements with a value of $200,000.00.
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                                                 6.

        The Trustee wishes to sell substantially all of the Debtor’s assets including all accounts,

 contract rights, membership agreements, personal training contracts and all accounts receivable

 through ABC Financial and ClubReady, furniture, furnishings, equipment, inventory, intellectual

 property required for the operation of the Debtor’s business, goods held for sale, supplies and

 other materials used or consumed in the Debtor’s business (“Property”) by private sale free and

 clear of liens and encumbrances to GG Evans, LLC (“Buyer”) for the sum of $312,000.00. A

 copy of the asset purchase agreement is attached and incorporated as Exhibit “A”.

                                                 7.

        The Trustee requests a determination that the Buyer is a good faith purchaser of the

 Property. The Buyer is not an insider as set forth in 11 U.S.C. 101(31) and has no relationship

 with the Debtor or the Debtor’s insiders. The Buyer is paying a fair price for the Property. The

 Buyer is unaware of any adverse claims to the Property other than the liens described in this

 Motion.

                                                 8.

        According to the public records, the Property is encumbered by the following liens:

        a. UCC-1 financing statement in favor of Gym Holdings, LLC as successor in interest to

            GH Evans, LLC.

        b. FIFA’s in favor of the Georgia Department of Labor (“GDL”).

        c. FIFA’s in favor of the Tax Commissioner of Columbia County, Georgia (“Columbia

            County”).
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                                                9.

         The Debtor executed a promissory note with GH Evans, Inc. (“GH Evans”) on July 20,

 2011. On July 20, 2011, a UCC-1 financing statement in favor of GH Evans was recorded in the

 Superior Court of Columbia County, Georgia. The financing statement encumbers the Property.

 On November 22, 2013, the Debtor executed a promissory note with Gym Holdings, LLC

 (“Gym Holdings”), the successor in interest to GH Evans. The stated purpose of the promissory

 note to Gym Holdings was to supersede and replace the promissory note to GH Evans dated July

 20, 2011.

                                                10.

         Gym Holdings has not filed a proof of claim with respect to the claim secured by the

 Property. The approximate balance on Gym Holdings’ secured claim is $131,929.24. The

 Trustee does not dispute the secured claim of Gym Holdings and will pay the secured claim in

 full at closing.

                                                11.

         GDL filed a proof of claim on April 22, 2015 with a secured portion of $5,303.99. The

 Trustee does not dispute the secured claim of GDL and will pay the secured portion of the claim

 in full at closing.

                                                12.

         Columbia County filed a proof of claim on June 8, 2015. The approximate balance on

 Columbia County’s secured claim as of June 15, 2016 is $10,637.29. The Trustee does not

 dispute the secured claim of Columbia County and will pay the claim in full at closing.
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                                                    13.

           In consideration of the payments, Gym Holdings, GDL and Columbia County shall

 release all liens encumbering the Property and any proceeds. Any other valid liens not released

 by said payments shall attach to the net sales proceeds to the same extent and priority as such

 liens would have attached to the Property.

                                                    14.

           The Trustee believes the sale of the Property to the Buyer is in the best interest of the

 estate and the creditors.

           Wherefore, the Trustee prays that the Court grant her Motion and grant her the following

 relief:

           a) Allowing the Trustee to sell the Property to the Buyer for $312,000.00 in accordance
              to the asset purchase agreement free and clear of the liens or encumbrances of Gym
              Holdings, GH Evans, GDL and Columbia County pursuant to 11 U.S.C. 363(b) and
              (f).
           b) Gym Holdings, GDL and Columbia County shall release their liens upon payment at
              closing.
           c) A finding that the Buyer is a good faith purchaser pursuant to 11 U.S.C. § 363(m).
           d) Approval to pay any past due and pro-rated property taxes and other small
              miscellaneous charges in accordance with the asset purchase agreement.
           e) Approval to execute any instrument necessary to effectuate the sale pursuant to
              Fed.R.Bankr.P. 6004(f)(2).
           f) A waiver of the fourteen (14) day stay period set forth in Fed.R.Bankr.P. 6004(h).

           This 9th day of August, 2016.

                                                   /s/ Robert M. Matson
 Akin, Webster & Matson, P.C.                     Robert M. Matson
 P.O. Box 1773                                    Attorney for Trustee
 Macon, GA 31202                                  State Bar No. 477102
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 rmatson@akin-webster.com
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                                                              Exhibit "A"
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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF GEORGIA
                                    AUGUSTA DIVISION

  IN RE:                                         )     CASE NO. 14-12297 SDB
                                                 )
  SCIENCE FITNESS, LLC                           )
      DEBTOR                                     )     CHAPTER 7

                                  CERTIFICATE OF SERVICE

          This certifies that I have this day served a copy of the Motion to Sell Property of the
  Estate Free and Clear of Liens and Encumbrances on Matthew E. Mills, Esq., Assistant United
  States Trustee, 2 East Bryan Street, Suite 725, Savannah, GA 31401; Todd Boudreaux,
  Attorney at Law, 493 Furys Ferry Rd., Augusta, GA 30907; Jon A. Levis, Attorney at Law,
  P.O. Box 129, Swainsboro, GA 30401; Julie Adams Jacobs, State of GA – AG Office, 40
  Capital Square, SW, Atlanta, GA; John P. Claeys, Attorney at Law, 512 Telfair St., Augusta,
  GA 30901; Thomas Ambrose Lee, III, Attorney at Law, P.O. Box 3001, Malvern, PA 19355;
  and Daniel Reshod Crumby, US Attorney Office – Augusta, P.O. Box 2017, Augusta, GA
  30903; Gym Holdings, LLC, Attn: Rich Simeone, Managing Member, 520 E. Cooper Ave,
  Suite 206, Aspen, CO 81611; GH Evans, LLC, Attn: Rich Simeone, Managing Member, 520
  E. Cooper Ave, Suite 206, Aspen, CO 81611; Georgia Department of Labor, Attn: Cheryl
  McClintock, 148 Andrew Young Blvd NE, Suite 826, Atlanta, GA 30303 and on Science
  Fitness, LLC, P.O. Box 1010, Evans, GA 30809 by depositing the documents in the US Mail in
  a properly addressed envelope with adequate postage attached.

           This 9th day of August, 2016.

                                               /s/ Robert M. Matson
  Akin, Webster & Matson, P.C.                Robert M. Matson
  P.O. Box 1773                               Attorney for Trustee
  Macon, GA 31202                             State Bar No. 477102
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